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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL
PROTECTION BUREAU,

                   Plaintiff,

             v.
                                                   No. 1:17-cv-1323-SB
NATIONAL COLLEGIATE MASTER
STUDENT LOAN TRUST et al.

                   Defendants.



                                     ORDER

1. I DENY Defendants’ Motion to Dismiss [D.I. 366]. The CFPB may proceed with
   its enforcement suit.

2. I ORDER the parties to confer and submit a proposed scheduling order by Monday,
   January 3, 2022. The scheduling order must follow this template:
   https://www.ded.uscourts.gov/sites/ded/files/Scheduling%20Order.pdf.



Dated: December 13, 2021                   ____________________________________
                                            UNITED STATES CIRCUIT JUDGE
